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             In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                        No. 13-1007V
                                    (Filed: June 27, 2014)

* * * * * * * * * * * * * *                 *
RAITHE PACE,                                *              UNPUBLISHED
                                            *
               Petitioner,                  *              Special Master Dorsey
                                            *
v.                                          *
                                            *              Decision on Proffer; Damages;
SECRETARY OF HEALTH                         *              Influenza (“Flu”) Vaccine; Shoulder
AND HUMAN SERVICES,                         *              Injury Related to Vaccine
                                            *              Administration (“SIRVA”).
               Respondent.                  *
                                            *
* * * * * * * * * * * * * * *
Maximillian J. Muller, Muller Brazil, LLP, Philadelphia, PA, for petitioner.
Traci Patton, United States Department of Justice, Washington, DC, for respondent.

                             DECISION AWARDING DAMAGES 1

       On December 19, 2013, Raithe Pace (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program 2 alleging that she suffered from a left
shoulder injury that had been caused-in-fact by an influenza (“flu”) vaccine administered to her
on September 24, 2011. Petition at 1. On June 3, 2014, a Ruling on Entitlement was issued
based on respondent’s concession.

        On June 25, 2014, respondent filed a Proffer on Award of Compensation. Respondent
proffers that, based upon her review of the evidence of record, petitioner should be awarded

1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
 The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, 42
U.S.C. §§ 300aa-10 et seq. (hereinafter “Vaccine Act” or “the Act”). Hereafter, individual
section references will be to 42 U.S.C. § 300aa of the Act.
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$95,000.00. Respondent states that petitioner agrees with the amount set forth in the Proffer.

       Based on the record as a whole, the undersigned finds that petitioner is entitled to an
award as stated in the Proffer. Pursuant to the terms stated in the attached Proffer, the
undersigned awards petitioner:

                A lump sum payment of $95,000.00, in the form of a check payable to
                petitioner, Raithe Pace. This amount accounts for all elements of
                compensation under 42 U.S.C. § 300aa-15(a) to which petitioner would be
                entitled.

Proffer ¶ II.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT herewith. 3


        IT IS SO ORDERED.

                                              s/ Nora Beth Dorsey
                                              Nora Beth Dorsey
                                              Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.

                                                 2
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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                               OFFICE OF SPECIAL MASTERS

RAITHE PACE,                  )
                              )
          Petitioner,         )
v.                            )                     No. 13-1007V
                              )                     Special Master Dorsey
SECRETARY OF HEALTH AND HUMAN )                     ECF
SERVICES,                     )
                              )
          Respondent.         )
                              )
                              )

              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.       Compensation for Vaccine Injury-Related Items

         Respondent proffers that, based on the evidence of record, petitioner should be awarded

$95,000.00. This amount represents all elements of compensation to which petitioner would be

entitled under 42 U.S.C. § 300aa-15(a)(1); 15(a)(3)(A); and 15(a)(4). Petitioner agrees.

II.      Form of the Award

         The parties recommend that the compensation provided to petitioner should be made

through a lump sum payment as described below, and request that the special master’s decision

and the Court’s judgment award the following: 1

      A. A lump sum payment of $95,000.00 in the form of a check payable to petitioner, Raithe
         Pace. This amount accounts for all elements of compensation under 42 U.S.C.
         § 300aa-15(a) to which petitioner would be entitled.

Petitioner is a competent adult. Evidence of guardianship is not required in this case.




1 Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses and future pain and suffering.
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                                                                    2



                                   Respectfully submitted,

                                   STUART F. DELERY
                                   Assistant Attorney General

                                   RUPA BHATTACHARYYA
                                   Director
                                   Torts Branch, Civil Division

                                   VINCENT J. MATANOSKI
                                   Deputy Director
                                   Torts Branch, Civil Division

                                   ALTHEA W. DAVIS
                                   Senior Trial Counsel
                                   Torts Branch, Civil Division

                                   s/Traci R. Patton
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DATE: June 25, 2014




                                      2
